Case 2:24-cr-00103-MWF Document 23 Filed 12/04/24 Pageiof5 Page ID#:210

Name and address:

Andrew C. Adams
1114 6th Ave.
New York, NY 10036
+1 212 506 3900

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER
Plaintiff(s), 2:24-cr-00103-MWF

UNITED STATES OF AMERICA

V.

APPLICATION OF NON-RESIDENT ATTORNEY
ROGER KEITH VER TO APPEAR IN A SPECIFIC CASE
Defendant(s), PRO HAC VICE

INSTRUCTIONS FOR APPLICANTS

(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be
grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
Format (PDF) file.

(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system (“Motions and Related
Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64) "), attach a Proposed Order
(using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4. ) A copy of the
G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R, 5-4.4.2.

SECTION I - INFORMATION

Adams, Andrew C.
Applicant's Name (Last Name, First Name & Middle Initial) check here if federal government attorney 0
Steptoe LLP
Firm/Agency Name
1114 6th Ave. +1 212 506 3900
Telephone Number Fax Number
Street Address
New York, NY 10036 acadams@steptoe.com
City, State, Zip Code E-mail Address

I have been retained to represent the following parties:
Roger Keith Ver [_] Plaintiff(s) [x} Defendant(s) ([] Other:
[_] Plaintiff(s) []] Defendant(s) [_] Other:

Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

Name of Court Date of Admission Active Member in Good Standing? (if not, please explain)
New York 07/21/2009 Yes

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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):

Case Number Title of Action Date of Application Granted / Denied?
2:24-CR-00403-SVW Sealed Matter 7/15/2024 Granted

If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:

Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

SECTION II - CERTIFICATION

I declare under penalty of perjury that:

(1) All of the above information is true and correct.

(2) Iam nota resident of the State of California. I am not regularly employed in, or engaged in
substantial business, professional, or other activities in the State of California.

(3) Iam not currently suspended from and have never been disbarred from practice in any court.

(4) Iam familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
Criminal Procedure, and the Federal Rules of Evidence.

(5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
of this Court and maintains an office in the Central District of California for the practice of law, in
which the attorney is physically present on a regular basis to conduct business, as local counsel
pursuant to Local Rule 83-2.1.3.4.

Dated December 3, 2024 / Andrew C. Adams
Applicant's Signature

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SECTION III - DESIGNATION OF LOCAL COUNSEL

Ashwin Ram
Designee's Name (Last Name, First Name & Middle Initial)
Steptoe LLP
Firm/Agency Name
633 W 5th St. (213) 439-9400
Suite 1900 Telephone Number Fax Number
Street Address aram@steptoe.com
Los Angeles, CA 90071 Email Address
City, State, Zip Code 277513

Designee's California State Bar Number

[hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

Dated December 3, 2024 Ashwin Ram
Designee's Name (please type ox print)

Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

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of the State of New York
Third Judicial Department

I, Robert D. Mayberger, Clerk of the Appellate Division of
the Supreme Court of the State of New York, Third Judicial
Department, do hereby certify that

Andrew Caldwell Adams

was duly licensed and admitted to practice as an Attorney and
Counselor at Law in aff the courts of this State on July 21, 2009,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.

In Witness Whereof, I have hereunto set
my hand in the City of Albany on
December 2, 2024.

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Clerk of the Court

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State of New York
Supreme Court, Appellate Division
Third Judicial Department
Admissions Office
P.O. Box 7350, Capitol Station
Albany, NY 12224-0350

Rober. Mayberger —yesidmisionsiceumagouricare | anthony A. Moor
Clerk of the Court ee %s - set ILAAMUSSIONS Director of Attorney
SNAPE? Admissions

To Whom It May Concern:

An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.

An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court

System.

New York State does not register attorneys as active or inactive.

An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Third Judicial Department.

Bar examination history is available from the New York State Board of Law
Examiners.

Instructions, forms and links are available on this Court's website.

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Robert D. Mayberger

Clerk of the Court

Revised January 2022
